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                 I N T H E U N I T E D ST A T E S D I ST RI CT CO URT F O R
                        T HE WEST ERN D I ST RI CT O F T EXAS
                               SAN ANT O NI O D I VI SI O N

    CHRISTOPHER WARD,
    individually and on behalf of the
    Estates of JOANN WARD and
    BROOKE WARD, Deceased; and as               NO. 5:19-CV-00289-XR
    Next Friend of R.W., A MINOR                (consolidated with
    CHILD                                       5:18-cv-00555-XR)

    vs.

    UNI T ED ST AT ES O F
    AMERI CA,
    Defendant



                                  FINAL JUDGMENT

          Judgment is entered in accordance with the Findings of Fact & Conclu-

sions of Law dated February 7, 2022, by District Judge Xavier Rodriguez,
against the United States and Plaintiffs shall recover from the United States

in the amount of:

            1.      $11,059,219.07 for R.W., a minor child; 1




1    After reviewing trial testimony, the Court finds that inflation and interest offset
     each other, resulting in a net discount rate of 0%. Therefore, of this amount,
     $274,752.67 represents the present value of reasonable and necessary future med-
     ical expenses that will be incurred on behalf of R.W. in the future from the time of
     trial until R.W. reaches the age of eighteen years; $2,046,577.64 represents the
     present value of reasonable and necessary future medical expenses he will incur
     after he reaches the age of 18 years old; also of this amount, $2,212,639.00 repre-
     sents the present value of future loss of earning capacity that R.W. will incur.

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                a. $2,000,000.00 for R.W.’s physical pain and mental an-
                   guish sustained in the past;

                b. $2,000,000.00 for R.W.’s physical pain and mental an-
                   guish that, in reasonable probability, he will sustain
                   in the future;

                c. $500,000.00 for R.W.’s disfigurement sustained in the
                   past;

                d. $500,000.00 for R.W.’s disfigurement that, in reason-
                   able probability, he will sustain in the future;

                e. $750,000.00 for R.W.’s physical impairment sustained
                   in the past;

                f. $500,000.00 for R.W.’s physical impairment that, in
                   reasonable probability, he will sustain in the future.

                g. $2,212,639.00 for R.W.’s loss of earning capacity that,
                   in reasonable probability, will be sustained in the fu-
                   ture after R.W. reaches the age of eighteen years;

                h. $274,249.76 for R.W.’s medical care expenses in-
                   curred in the past;

                i. $275,752.67 for R.W.’s medical care expenses that, in
                   reasonable probability, will be incurred on behalf of
                   R.W. in the future from the time of trial until R.W.
                   reaches the age of eighteen years; and

                j. $2,046,577.64 for R.W.’s medical care expenses that,
                   in reasonable probability, he will incur after he
                   reaches the age of eighteen years.

        2.     Plaintiff, Estate of Joann Ward 2 is awarded total damages
               of $5,000,000.00, which includes:




2   Dalia Lookingbill was Appointed Dependent Administrator of JoAnn Ward’s estate
    on April 6, 2021, in The 218th Judicial District Court of Wilson County, Cause No.
    CVW2100050, The Estate of JoAnn Ward, a/k/a JoAnn Lookingbill-Ward, Deceased.

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                a. $5,000,000.00 for JoAnn Ward’s pain and mental an-
                   guish.

        3.     Plaintiff, Estate of Brooke Ward 3 is awarded total dam-
               ages of $5,000,000.00 which includes:

                a. $5,000,000.00 for Brooke Ward’s pain and mental an-
                   guish.

        4.     $2,100,000.00 to Christopher Ward.

      Plaintiffs shall file their bill of costs with this Court within 10 days of en-

try of this judgment.

      Post-judgment interest shall be awarded in accordance with 31 U.S.C.

§ 1304(b)(1). Such interest shall be calculated at a rate equal to the weekly

average 1-year constant maturity Treasury yield, as published by the Board

of Governors of the Federal Reserve System, for the calendar week preceding

the Judgment. 28 U.S.C. § 1961(a). For the week preceding this Judgment,

the rate is set at 1.66 percent. 4

      The above notwithstanding, the United States Government shall not be

responsible for any post-judgment interest that accrues as a result of the fam-

ily law dispute between R.W.’s parents.

      Further, the United States Government shall not be responsible for any

post-judgment interest that accrues as a result of the pending administration

of Brooke Ward’s probate estate.




3   The administrator of Brooke Ward’s estate has yet to be appointed. That matter is
    pending in The County Court of Wilson County, Texas, Cause No. PR-08628, The
    Estate of Brooke Bryann Ward, Deceased.
4   See https://www.federalreserve.gov/releases/h15/; accessed April 4, 2022, showing
    1-year Treasury constant maturities for March 25, 28-31, which average to 1.66%.

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    Pursuant to 28 U.S.C. § 2678, attorney’s fees are limited to 25% of the

judgment, which the Court finds to be a reasonable and necessary fee in this

case.

    The Government shall hold the $11,059,219.07 awarded to R.W. pending

further order from this Court, which will issue upon resolution of the family

law dispute between R.W.’s parents, Christopher Ward and Chancie

McMahan, pending in Lampasas County, Texas.

    The Government shall hold the $5,000,000.00 awarded to the Estate of

Brooke Ward pending further order from this Court, which shall issue upon

resolution of her probate estate, pending in Wilson County, Texas.

    This final judgment disposes of all claims in the above-styled cause.

    It is so ORDERED.

    SIGNED on this 5th day of April, 2022.




                                  _________________________________
                                  XAVIER RODRIGUEZ
                                  UNITED STATES DISTRICT JUDGE




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